     Case 2:21-cv-06730-FLA-PVC Document 1 Filed 08/19/21 Page 1 of 11 Page ID #:1




 1
     Brian T. Dunn, State Bar No. 176502
     bdunn@cochranfirm.com
 2   Edward M. Lyman III, State Bar No. 248264
 3
     elyman@cochranfirm.com
     The Cochran Firm California
 4   4929 Wilshire Boulevard, Suite 1010
 5   Los Angeles, California 90010
     Telephone: (323) 435-8205
 6   Facsimiles: (323) 282-5280
 7
     Gregory J. Ramirez, State Bar No. 150515
 8 gramirez@gjramirezlaw.com

 9 Law Office of Gregory J. Ramirez
     220 S. A Street, Ste. 1
10 Oxnard, CA 93030-5762

11 Telephone: (805) 483-1090
     Facsimiles: (805) 228-4669
12
     Attorneys for Plaintiff Joseph L. Garces
13

14                             UNITED STATES DISTRICT COURT
15            CENTRAL DISTRICT OF CALIFORNIA WESTERN DIVISION
16
      JOSEPH L. GARCES, an individual,          CASE No.: 2:21-cv-6730
17

18                 Plaintiffs,                  COMPLAINT FOR DAMAGES
19
             v.                                      1. Violations of Civil Rights
20                                                      (42 U.S.C. §1983 - Excessive Force)
      CITY OF SANTA PAULA, a
21
      municipal entity, OFFICER CHRIS                2. Violations of Civil Rights
22    RIVERA, an individual, and DOES 1                 (Cal. Civ. Code §52.1)
      through 10, inclusive,
23
                                                     3. Battery
24                 Defendants.
                                                     4. Negligence
25

26

27
                                                DEMAND FOR JURY TRIAL

28
                                                 1
                                       COMPLAINT FOR DAMAGES
     Case 2:21-cv-06730-FLA-PVC Document 1 Filed 08/19/21 Page 2 of 11 Page ID #:2




 1                              JURISDICTION AND VENUE
 2         1.    Jurisdiction is vested in this court under 28 U.S.C. § 1343(3)-(4) for
 3 violations of the 1871 Civil Rights Enforcement Act, as amended, including 42 U.S.C. §

 4 1983 and 28 U.S.C. § 1331.

 5         2.    Venue is proper in the Central District of California under 28 U.S.C.
 6 § 1391(a)-(b).

 7                                          PARTIES
 8         3.    Plaintiff JOSEPH L. GARCES is, and at all relevant times mentioned herein
 9 was, a resident of the County of Ventura and State of California.

10         4.    Defendant CITY OF SANTA PAULA ("CITY") is, and at all relevant times
11 mentioned herein was, a municipal entity or political subdivision of the United States,

12 organized and existing under the laws of the State of California.

13         5.    Plaintiff is informed, believes, and thereon alleges that Defendant CHRIS
14 RIVERA ("OFFICER RIVERA") is, and at all relevant times mentioned herein was, a

15 resident of the County of Ventura and State of California. Plaintiff is further informed

16 and believes, and thereon alleges, that at all times relevant to the acts and omissions

17 herein alleged, OFFICER RIVERA was a police officer employed by the Defendant

18 CITY and the City of Santa Paula Police Department ("SPPD"), and was acting under

19 color of state law and within the course and scope of his employment with the CITY and

20 SPPD.

21         6.    On or around February 25, 2021, a timely Claim for Damages ("Claim") was
22 submitted to the CITY, in substantial compliance with California Government Code §

23 910, et seq. CITY acknowledged receipt of the Claim. However, CITY failed to accept

24 or reject the Claim within 45 days. Therefore, by operation of the law, the Claim is

25 deemed to have been denied on April 11, 2021. Id. at § 911.6(c).

26         7.    Plaintiff is unaware of the true names and capacities of those Defendants
27 named herein as DOE Defendants DOES 1-10. Plaintiff is informed and believe DOES

28 1-10 at all material times were employed by the CITY and working within the course and
                                                 2
                                      COMPLAINT FOR DAMAGES
     Case 2:21-cv-06730-FLA-PVC Document 1 Filed 08/19/21 Page 3 of 11 Page ID #:3




 1 scope of their employment with the CITY and SPPD. Plaintiff will amend this

 2 Complaint to allege said Defendants’ true names and capacities when that information

 3 becomes known. Plaintiff is informed, believes, and thereon allege that DOES 1-10 are

 4 legally responsible and liable for the incident, injuries, and damages hereinafter set forth,

 5 and that each of DOES 1-10 proximately caused the injuries and damages by reason of

 6 negligent, careless, deliberately indifferent, intentional, willful, or wanton misconduct,

 7 including the negligent, careless, deliberately indifferent, intentional, willful, or wanton

 8 misconduct in creating and otherwise causing the incidents, conditions, and

 9 circumstances hereinafter set forth, or by reason of direct or imputed negligence or

10 vicarious fault or breach of duty arising out of the matters herein alleged. Plaintiff will

11 seek leave to amend this Complaint to set forth said true names and identities of the

12 unknown named DOE Defendants when they are ascertained. Each of the individual

13 DOE Defendants sued herein is sued both in his individual and personal capacity, as well

14 as in his official capacity.

15         8.    Each of the individual defendants sued herein is sued both in his or her
16 individual and personal capacity, as well as in his or her official capacity.

17         9.    Plaintiff is informed, believes, and thereon alleges that at all times herein
18 mentioned, each of the Defendants was the agent and/or employee and/or co-conspirator

19 of each of the remaining Defendants, and in doing the things hereinafter alleged, was

20 acting within the scope of such agency, employment, and/or conspiracy and with the

21 permission and consent of other co-Defendants.

22                           FACTS COMMON TO ALL COUNTS
23         10.   This federal complaint concerns an officer-involved assault and battery of
24 Plaintiff which occurred during the mid-afternoon hours of Friday, October 9, 2020, in

25 or around North 8th Street and Railroad Avenue, in the City of Santa Paula, County of

26 Ventura, and State of California. At that time and location, Plaintiff Joseph Garces, a

27 retired firefighter, responded to an incident where a gunshot victim was laying in the

28 street. Plaintiff immediately began rendering critical life saving measures to the victim.
                                                  3
                                       COMPLAINT FOR DAMAGES
     Case 2:21-cv-06730-FLA-PVC Document 1 Filed 08/19/21 Page 4 of 11 Page ID #:4




 1 That's when Defendant OFFICER RIVERA, arrived at the scene and negligently

 2 assessed the circumstances presented to him.

 3         11.   Without warning, OFFICER RIVERA proceeded to assault and batter
 4 Plaintiff by acts including, without limitation, repeatedly assaulting and battering

 5 Plaintiff, which caused severe injuries to Plaintiff's person, without having probable

 6 cause or reasonable suspicion to believe that Plaintiff had committed any crime, or

 7 would commit a crime in the future.

 8         12.   Following the assault and battery, OFFICER RIVERA and Doe Officers,
 9 DOES 1-10, handcuffed, detained, and denied medical care to Plaintiff in a manner that

10 demonstrated deliberate indifference to Plaintiff's constitutional rights.

11         13.   At no time during the course of these events did Plaintiff pose any
12 reasonable or credible threat of violence to OFFICER RIVERA, nor anyone else, nor did

13 he do anything to justify the force used against him, and the same was excessive,

14 unnecessary, and unlawful.

15         14.   Plaintiff suffered severe injuries as a direct and proximate result of the
16 assault and battery inflicted upon his person by OFFICER RIVERA.

17         15.   Both prior to and during the time in which he was assaulted and battered,
18 Plaintiff was not brandishing any kind of weapon and posed no reasonable or credible

19 threat of violence to OFFICER RIVERA, nor any other individual. Both prior to and

20 during the time in which he was assaulted and battered, Plaintiff made no aggressive

21 movements, no furtive gestures, and no physical movements which would suggest to a

22 reasonable police officer that he was brandishing any kind of weapon, or had the will, or

23 the ability to inflict substantial bodily harm against any individual. Both prior to and

24 during the time in which OFFICER RIVERA assaulted and battered Plaintiff, OFFICER

25 RIVERA was not faced with any circumstances which would have led a reasonable

26 police officer to believe that Plaintiff posed a risk of harm or serious bodily injury to any

27 person.

28
                                                  4
                                       COMPLAINT FOR DAMAGES
     Case 2:21-cv-06730-FLA-PVC Document 1 Filed 08/19/21 Page 5 of 11 Page ID #:5




 1                                  FIRST CAUSE OF ACTION
 2               By Plaintiff against Defendant Officer Chris Rivera, and Does 1-10
 3                    Violations of Civil Rights under the Fourth Amendment
 4                                 42 U.S.C § 1983, Excessive Force
 5         16.     Plaintiff restates and incorporates by reference the foregoing allegations.
 6         17.     This cause of action is to redress the violation of Plaintiff's civil rights
 7 against OFFICER CHRIS RIVERA, who under color of statue, ordinance, regulation,

 8 policy, custom, practice, and/or usage, deprived Plaintiff of his rights, privileges, and

 9 immunities secured to Plaintiff by the Fourth Amendment and Fourteenth Amendments

10 to the United States Constitution, including without limitation, the right to be free from

11 unreasonable governmental seizures of his person.

12         18.      At all times mentioned herein, OFFICER RIVERA acted under color and
13 pretense of law, and under color of the statues, ordinances, regulations, policies,

14 practices, customs, and/or usages of the State of California, the CITY, and the SPPD.

15         19.     Plaintiff is informed, believes, and thereon alleges that in unreasonably
16 seizing his person, as described in the foregoing paragraphs of this Complaint,

17 OFFICER RIVERA acted outside the scope of his jurisdiction and without authorization

18 of law, and acted willfully, maliciously, knowingly, with reckless disregard and callous

19 indifference to the known consequences of his acts and omissions, and purposefully with

20 the intent to deprive Plaintiff of his federally protected rights and privileges, and did in

21 fact violate the aforementioned rights and privileges, thereby warranting punitive and

22 exemplary damages against Defendant OFFICER RIVERA in an amount to be proven at

23 the trial of this matter.

24         20.     As a direct and proximate result of the aforementioned wrongful, intentional,
25 and malicious acts and omissions of OFFICER RIVERA, Plaintiff was placed in great

26 fear for his life and physical well-being, and has suffered and continues to suffer

27 extreme mental and physical pain, suffering, anguish, fright, nervousness, anxiety, grief,

28 shock, humiliation, indignity, embarrassment, and apprehension, all to his damage in a
                                                     5
                                         COMPLAINT FOR DAMAGES
     Case 2:21-cv-06730-FLA-PVC Document 1 Filed 08/19/21 Page 6 of 11 Page ID #:6




 1 sum to be determined at trial.

 2         21.   As a further proximate result of OFFICER RIVERA's wrongful, intentional,
 3 and malicious acts and omissions, Plaintiff was required to employ, and did in fact

 4 employ health care providers and/or medical practitioners to examine, treat, and care for

 5 him, and incurred and continues to incur expenses for emergent medical services and

 6 other medical treatment and care in an amount according to proof at trial.

 7         22.   Plaintiff is entitled to and hereby demands costs, attorneys’ fees, and
 8 expenses pursuant to 42 U.S.C § 1988.

 9                              SECOND CAUSE OF ACTION
10       By Plaintiff against all Defendants and Does 1-10 for Violations of Civil Rights
11                 Cal. Civ. Code §52.1 Based on Unreasonable use of Force
12         23.   Plaintiff restates and incorporates by reference the foregoing allegations.
13         24.   All claims asserted herein against the Defendant CITY are presented
14 pursuant to the Defendant CITY's vicarious liability for acts and omissions of municipal

15 employees undertaken in the course and scope of their employment pursuant to

16 California Government Code §§ 815.2(a) and 820(a).

17         25.   The manner in which Plaintiff was seized, and permanently injured, violated
18 his Constitutional Rights, as guaranteed by the Fourth Amendment to the United States

19 Constitution, as described in the foregoing paragraphs of this Complaint, and the subject

20 incident occurred during, and in response to, Plaintiff’s exercise of his rights under the

21 state and federal constitutions to peacefully assemble in a public place. Both prior to and

22 during the time in which he was shot, Plaintiff was not armed with any kind of weapon,

23 and posed no reasonable or credible threat of violence to OFFICER RIVERA, nor to

24 Doe Officers, nor to DOES 1-10, nor to any other individual, thereby entitling Plaintiff

25 to economic, noneconomic, and punitive damages, as well as attorneys' fees, as set forth

26 in the foregoing paragraphs of this Complaint, under the applicable provisions of Cal.

27 Civ. Code §52.1.

28         26.   California Civil Code § 52.1 (the Bane Act) prohibits any person from using
                                                 6
                                      COMPLAINT FOR DAMAGES
     Case 2:21-cv-06730-FLA-PVC Document 1 Filed 08/19/21 Page 7 of 11 Page ID #:7




 1 violent acts or threatening to commit violent acts in retaliation against another person for

 2 exercising that person's constitutional rights.

 3         27.   Plaintiff is informed, believes, and thereon allege that the OFFICER
 4 RIVERA and Doe Officers, DOES 1-10, while acting under color of state law and in the

 5 course and scope of their employment with the CITY and SPPD, intentionally

 6 committed, and attempted to commit, acts of violence against Plaintiff, and/or acted in

 7 reckless disregard of Plaintiff's civil rights, by repeatedly assaulting and battering

 8 Plaintiff, and ultimately detaining Plaintiff, without justification or excuse.

 9         28.   When the Defendant OFFICER RIVERA and Doe Officers, DOES 1-10,
10 committed the aforementioned acts, they interfered with Plaintiff's civil rights, including

11 his right to be free from unreasonable governmental seizures of his person, his right to

12 due process, his right to equal protection of the laws, his right to be free from state

13 actions that shock the conscience, and his right to life, liberty, and property.

14         29.   Plaintiff is informed, believes, and thereon alleges that the Defendant
15 OFFICER RIVERA and Doe Officers, DOES 1-10, intentionally and spitefully

16 committed the above described acts to discourage Plaintiff from exercising his civil

17 rights, retaliated against Plaintiff for invoking his civil rights, and/or prevented Plaintiff

18 from exercising his civil rights, and/or acted in reckless disregard of Plaintiff's civil

19 rights, which he was fully entitled to enjoy.

20         30.   Plaintiff is informed, believes, and thereon alleges that Defendant OFFICER
21 RIVERA reasonably believed and understood that the violent acts he committed were

22 intended to discourage Plaintiff from exercising his above described civil rights, retaliate

23 against him for invoking his above described civil rights, and/or prevent him from

24 exercising her above described civil rights.

25         31.   Plaintiff is informed, believes, and thereon alleges that Defendant OFFICER
26 RIVERA and Doe Officers, DOES 1-10, successfully interfered with the above

27 described civil rights of Plaintiff.

28         32.   The wrongful, intentional, and malicious conduct of the Defendant
                                                    7
                                          COMPLAINT FOR DAMAGES
     Case 2:21-cv-06730-FLA-PVC Document 1 Filed 08/19/21 Page 8 of 11 Page ID #:8




 1 OFFICER RIVERA and Doe Officers, DOES 1-10 described herein was a substantial

 2 factor in causing Plaintiff's harms, losses, injuries, and damages.

 3         33.   Plaintiff is informed, believes, and thereon alleges that in intentionally
 4 committing and attempted to commits acts of violence against Plaintiff, and/or in acting

 5 in reckless disregard of Plaintiff's civil rights, and thereby interfering with Plaintiff's

 6 civil rights, as described in the foregoing paragraphs of this Complaint, Defendant

 7 OFFICER RIVERA and Doe Officers, DOES 1-10 acted outside the scope of their

 8 jurisdiction and without authorization of law, and acted willfully, maliciously,

 9 knowingly, with reckless disregard and callous indifference to the known consequences

10 of their acts and omissions, and purposefully with the intent to deprive Plaintiff of his

11 protected rights and privileges, and did in fact violate the aforementioned rights and

12 privileges, thereby warranting punitive and exemplary damages against Defendant

13 OFFICER RIVERA and Doe Officers, DOES 1-10 in an amount to be proven at the trial

14 of this matter.

15         34.   As a direct and proximate result of the wrongful, intentional, and malicious
16 acts and omissions of the Defendant OFFICER RIVERA and Doe Officers, DOES 1-10,

17 Plaintiff suffered great mental and physical pain, suffering, and anguish, fright,

18 nervousness, anxiety, grief, shock, humiliation, indignity, embarrassment, apprehension,

19 and loss of enjoyment of life prior to her death, all to her damage in a sum to be

20 determined at trial.

21         35.   As a further proximate result of the wrongful, intentional, and malicious
22 acts and omissions of the Defendant OFFICER RIVERA and Doe Officers, DOES 1-10,

23 Plaintiff was required to employ, and did in fact employ, health care providers and/or

24 medical practitioners to examine, treat, and care for her, and incurred expenses for

25 emergent medical services and medical treatment and care prior to her death in an

26 amount according to proof at trial.

27    //
28    //
                                                  8
                                       COMPLAINT FOR DAMAGES
     Case 2:21-cv-06730-FLA-PVC Document 1 Filed 08/19/21 Page 9 of 11 Page ID #:9




 1                               THIRD CAUSE OF ACTION
 2               By Plaintiff against all Defendants and Does 1-10 for Battery
 3                  Cal. Civ. Code § 43, Cal. Govt. Code §§ 815.2(a), 820(a)
 4         36.   Plaintiff restates and incorporates by reference the foregoing allegations.
 5         37.   All claims asserted herein against CITY are presented pursuant to the
 6 CITY's vicarious liability for acts and omissions of municipal employees undertaken in

 7 the course and scope of their employment pursuant to California Government Code §§

 8 815.2(2) and 820(a).

 9         38.   Plaintiff asserts claims of battery against all defendants based upon the
10 unlawful touching of his person which was the direct and legal cause of his injuries and

11 the resulting damages. At all times during the unlawful touching of Plaintiff, defendants

12 were acting within the course and scope of their employment with the CITY.

13         39.   The unconsented contact by Defendant OFFICER RIVERA against Plaintiff
14 amounted to unreasonable force and included, without limitation, punches, kicks, control

15 holds, improper restraints, and the improper and excessive use of on Plaintiff's person.

16         40.   Plaintiff is informed, believes, and thereon alleges that in unreasonably
17 seizing his person, as described in the foregoing paragraphs of this Complaint,

18 OFFICER RIVERA acted outside the scope of his jurisdiction and without authorization

19 of law, and acted willfully, maliciously, knowingly, with reckless disregard and callous

20 indifference to the known consequences of his acts and omissions, and purposefully with

21 the intent to deprive Plaintiff of his federally protected rights and privileges, and did in

22 fact violate the aforementioned rights and privileges, thereby warranting punitive and

23 exemplary damages against Defendant OFFICER RIVERA in an amount to be proven at

24 the trial of this matter.

25         41.   As a direct and proximate result of the aforementioned wrongful, intentional,
26 and malicious acts and omissions of OFFICER RIVERA, Plaintiff was placed in great

27 fear for his life and physical well-being, and has suffered and continues to suffer

28 extreme mental and physical pain, suffering, anguish, fright, nervousness, anxiety, grief,
                                                  9
                                       COMPLAINT FOR DAMAGES
 Case 2:21-cv-06730-FLA-PVC Document 1 Filed 08/19/21 Page 10 of 11 Page ID #:10




 1 shock, humiliation, indignity, embarrassment, and apprehension, all to his damage in a

 2 sum to be determined at trial.

 3        42.   As a further proximate result of OFFICER RIVERA's wrongful, intentional,
 4 and malicious acts and omissions, Plaintiff was required to employ, and did in fact

 5 employ health care providers and/or medical practitioners to examine, treat, and care for

 6 him, and incurred and continues to incur expenses for emergent medical services and

 7 other medical treatment and care in an amount according to proof at trial.

 8                              FOURTH CAUSE OF ACTION
 9              By Plaintiff against all Defendants and Does 1-10, Negligence
10        43.   Plaintiff restates and incorporates by reference the foregoing allegations.
11        44.   All claims asserted herein against the CITY are presented pursuant to the
12 CITY's vicarious liability for acts and omissions of municipal employees undertaken in

13 the course and scope of their employment pursuant to California Government Code §§

14 815.2(a) and 820(a).

15        45.   Plaintiff is informed, believes, and thereon alleges that on and before
16 October 9, 2020, OFFICER RIVERA had a duty to exercise the reasonable and ordinary

17 care which would be expected of similarly situated peace officers in the use of force, and

18 had a duty to exercise the reasonable and ordinary care which would be expected of

19 similarly situated peace officers in the execution of police tactics and police procedures

20 in stopping, detaining, and/or arresting unarmed, non-dangerous civilians and suspects.

21 Notwithstanding each of these duties, OFFICER RIVERA failed to exercise reasonable

22 and ordinary care in committing the acts alleged herein, by actions and inactions which

23 include, but are not limited to: negligently failing to de-escalate the situation involving

24 Plaintiff; negligently employing a tactical response to the situation involving Plaintiff

25 that resulted in unnecessary and preventable injuries to Plaintiff; negligently failing to

26 properly and adequately assess the need to use force, negligently inflicting physical

27 injuries upon Plaintiff, negligently employing force against Plaintiff when the same was

28 unreasonable, unnecessary, and unlawful; negligently training and supervising
                                                 10
                                      COMPLAINT FOR DAMAGES
 Case 2:21-cv-06730-FLA-PVC Document 1 Filed 08/19/21 Page 11 of 11 Page ID #:11




 1 employees; and negligently failing to provide prompt medical care to Plaintiff after he

 2 was battered.

 3        46.   All of these negligent acts proximately caused Plaintiff's injuries.
 4        47.   As a direct and proximate result of the negligent acts and omissions of
 5 Defendants, Plaintiff was placed in great fear for his physical well being, and has

 6 suffered and continues to suffer from severe emotional distress, as well as mental and

 7 physical pain and injury, all to his damage in a sum to be determined at trial. As a

 8 further direct and proximate result of the negligent acts and omissions of Defendants,

 9 Plaintiff suffered physical injuries.

10        48.   As a direct and proximate result of the above-described conduct of
11 Defendants, Plaintiff has sustained substantial economic and non-economic damages

12 resulting in an amount according to proof at trial.

13        WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
14        1.    For general and special damages in an amount according to proof at trial;
15        2.    For medical and related expenses according to proof at trial;
16        3.    For costs of suit incurred herein;
17        4.    For pre-judgment interest;
18        5.    For attorneys’ fees incurred herein, as provided by law;
19        6.    For punitive damages against the individual Defendants in their individual
20              capacities in an amount according to proof at trial; and
21        7.    For such other and further relief as the Court deems just and proper.
22 JURY DEMAND

23        Plaintiff hereby demands that a jury be impaneled for the trial of this matter.
24

25
      DATED: August 19, 2021               Respectfully submitted,

26
                                           THE COCHRAN FIRM CALIFORNIA

27
                                    By: /s/ Edward M. Lyman

28                                           Edward M. Lyman III, Attorneys for Plaintiff
                                                 11
                                      COMPLAINT FOR DAMAGES
